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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 CHARLES TOWNSLEY, et al.,                       )
                                                 )
        Plaintiffs,                              )
 v.                                              )     Case No. 1:20-cv-00969-DAE
                                                 )
 INTERNATIONAL BUSINESS                          )
 MACHINES CORPORATION,                           )
                                                 )
         Defendant.                              )

      ORDER GRANTING DEFENDANT’S MOTION FOR PROTECTIVE ORDER

       Before the Court in the above-styled and numbered cause is Defendant International

Business Machines Corporation’s (“IBM” or “Defendant”) Motion for Protective Order to Limit

Scope of 30(b)(6) Depositions (ECF No. ___), filed June 7, 2022. Defendant asks the Court to

enter a Protective Order limiting the scope of certain topics noticed by Plaintiffs pursuant to their

Notice of Deposition of IBM’s Corporate Representative pursuant to Rule 30(b)(6) (“30(b)(6)

Deposition Notice”). The Court, having reviewed Defendant’s Motion for Protective Order to

Limit Scope of 30(b)(6) Depositions, all related pleadings, the applicable law, and the entire case

file, determines that good cause has been shown for the entry of a Protective Order. Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Protective Order to Limit Scope

of 30(b)(6) Depositions (ECF No. __), filed June 7, 2022, is GRANTED.

       IT IS FURTHER ORDERED that allowable testimony with regard to Topics 1, 2, 11,

and 12 (as set forth in Defendant’s Motion for Protective Order) SHALL BE LIMITED to

employees of IBM U.S. IT IS FINALLY ORDERED that the discovery of demographic data

and testimony related to such data, as noticed in the 30(b)(6) Deposition Notice, SHALL BE

LIMITED to employees of IBM U.S. who worked for the business groups in which Plaintiffs




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worked at the time of their separation and to the resource actions within those business groups that

were funded by the same funding pool (Concord, Maple, and Palm) as the resource action affecting

each Plaintiff.



        SIGNED this ________ day of _________________________, 2022.



                                                     ___________________________________
                                                     DAVID ALAN EZRA
                                                     SENIOR UNITED STATES DISTRICT
                                                     JUDGE




                                                 2
